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Attorney for Defendant




                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                        Case No. 1:21-cr-00237-RDM-1

                        Plaintiff,                MOTION TO PERMIT TRAVEL

        vs.

 JONATHANPETER ALLEN KLEIN,

                        Defendant.

       Johnathanpeter Klein, through counsel, respectfully moves this Court for permission to

travel to North Plains, Oregon from July 30 to August 1, 2021, while in the custody of his sister,

Emily Klein, and subject to location monitoring and all previously ordered release conditions (CR

41). Mr. Klein makes this request to facilitate attending a family wedding.

       Since his release to the custody of his third-party custodian on May 19, 2021, Mr. Klein

has remained in compliance with the conditions of his pretrial release (CR 50, 53, 55, 57, 59). He

is employed full-time. He also contributes to his third-party custodian’s household by taking on

home improvement projects. He is currently in the process of helping them paint their home.

Additionally, he is actively involved in his local faith community.



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       Mr. Klein requests that his third-party custody transfer from the current custodian, Marillee

Flanagan, to his sister, Emily Klein, during the requested travel period to remain in compliance

with his conditions. Mr. Klein proposes traveling by car with Ms. Klein from Pendleton, Oregon

to Forest Grove, Oregon. They would depart the Flanagan home on July 30, 2021, reside at a

rental property in Forest Grove, Oregon while attending the wedding in North Plains on July 31,

and return to the Flanagan home on August 1, 2021. Mr. Klein expects any timing and manner of

travel to be conditioned as specified by Pretrial Services, as well as any other conditions needed

during the event as Mr. Klein’s co-defendant will be in attendance as well. Third-party custody

would transfer back to the current custodian at the end of the day on August 1, 2021.

       Undersigned counsel has contacted counsel for the government, Assistant United States

Attorney Christopher K. Veatch, who does not object to the instant motion provided that Mr. Klein

remain on location monitoring during the requested travel and remains in compliance with the

conditions of pretrial release and any other requirements of this Court.

       CONCULSION

       For the reasons stated above, Mr. Klein requests permission to temporarily transfer third-

party custody to Emily Klein to allow travel from Pendleton, Oregon to Forest Grove and North

Plains, Oregon to attend a family wedding, from July 30, 2021 to August 1, 2021.

       RESPECTFULLY SUBMITTED this 2nd day of July, 2021.

                                              /s/ Michelle Sweet
                                              Michelle Sweet
                                              Attorney for Defendant




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